-" document entered on the docket sheet in compliance

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 95 JUH _.'i PM 5, 57

WESTERN DWISION
UNITED sTATEs 0F AMERICA, ) §H}E§YF F~VLJ;§E,§'JS;:§F(':
Petitioner §
v. § CaSGNO_ 05_21+10"3 V
LARRY A_ BULLOCK, i
Respondent §

 

ORDER

 

Upon the filing of a Petitioner to Enforce an lnternal Revenue Service Summons, IT IS

ORDERED that a hearing on the Petition is set for l 1 50 p.m. on '1 l 18 iQ§ ,
2005, in Courtroom No. _\_, on the l I 'H'\ Floor of the Clifford Davis Federal Building,
167 N. Main Street, Mernphis, Tennessee, 38103. At the hearing the Court Will consider
Whether it should order enforcement of the administrative summons of the Internal Revenue
Service. If the Respondent opposes judicial enforcement of the summons, he may appear at such
hearing and present to the Court any cause Why the summons should not he so enforced
IT IS FURTHER

ORDERED that a copy of this order, together with the petition and supporting exhibits be

served on the Respondent at least thirty (30) days prior to the date assigned for the hearing.

dba

@ED ST ES DISTRICT JUDGE

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DATED. 9 ,, loan

note ss and/or 79(a )FacP on 115

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02410 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

